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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                               CRIMINAL MINUTES ‐‐ GENERAL

Case No.     CR 07‐1048‐VBF                                            Dated: December 13, 2007

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PRESENT: HONORABLE VALERIE BAKER FAIRBANK, U. S. DISTRICT JUDGE

       Rita Sanchez                       Bob Killion                       John Lulejian
     Courtroom Deputy                    Court Reporter                   Asst. U.S. Attorney



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U.S.A. vs (Dfts listed below)                        Attorneys for Defendants

2)    David Cole, Jr.                               2)     Edward Robinson
      Not present ‐ Custody                                Present ‐ Appointed

4)    Lashawn Andrea Lynch                          4)     Alan Eisner
      Present ‐ Bond                                       Present‐ Appointed

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PROCEEDINGS:        STATUS CONFERENCE RE TRIAL

      Case called and counsel make their appearance.

       Court and counsel confer regarding trial date. The Court continues the Status Conference
Re Trial to January 8, 2008 at 11:00 a.m. The Defendants are ordered to be present at the status
conference.




MINUTES FORM 6                                                               Initials of Deputy Clerk RS
CRIM -- GEN                                                                                        :20
